Case 15-11221         Doc 47     Filed 09/14/15 Entered 09/14/15 10:35:21               Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS
                                        (Boston)


IN RE:                                              CHAPTER 13
                                                    CASE NO. 15-11221-JNF
Yvonne V. Skapars
Debtor

                             MOTION TO APPROVE STIPULATION

    Now comes Champion Mortgage Company and states that a stipulation was entered into by
Champion Mortgage Company and the Debtor, Yvonne V. Skapars on September 14, 2015.
Champion Mortgage Company respectfully requests that this Court Approve said stipulation
subject to the following language:

IF THE DEBTOR FAILS TO MAKE SAID PAYMENTS BY THE DATES SPECIFIED IN
PARAGRAPH TWO OF THIS STIPULATION, RELIEF FROM STAY MAY BE GRANTED
WITHOUT HEARING BY THE COURT UPON LENDER FILING A CERTIFICATE OF NON-
COMPLIANCE TEN (10) DAYS NOTICE OF DEFAULT TO THE DEBTOR AND TO THE
DEBTOR’S ATTORNEY, BY FIRST CLASS MAIL, POSTAGE PREPAID, OR BY
FACSIMILE. A $50.00 FEE SHALL BE CHARGED FOR EACH NOTICE OF DEFAULT, AND
A $150.00 FEE SHALL BE CHARGED FOR EACH CERTIFICATE OF NON-COMPLIANCE
NEEDED THROUGHOUT THE LIFE OF THIS STIPULATION AGREEMENT. THE DEBTOR
HAS THE RIGHT TO OBJECT TO THE CERTIFICATE OF NON-COMPLIANCE ONLY ON
THE BASIS THAT THE PAYMENTS WERE MADE TIMELY UNDER THE STIPULATION.

                                               Respectfully submitted,
                                               Champion Mortgage Company
                                               By its Attorney,


                                               /s/ Tatyana P. Tabachnik
                                               Tatyana P. Tabachnik, Esquire
                                               BBO# 673236
                                               HARMON LAW OFFICES, P.C.
                                               150 California Street
                                               Newton, MA 02458
                                               617-558-0500
Dated: September 14, 2015                      mabk@harmonlaw.com

                                             NOTICE
All Objections to this Motion must be filed within fifteen (15) days of this date unless otherwise
ordered by Court.
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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS
                                        (Boston)


IN RE:                                              CHAPTER 13
                                                    CASE NO. 15-11221-JNF
Yvonne V. Skapars
Debtor

                                   CERTIFICATE OF SERVICE

       I, Tatyana P. Tabachnik, Esquire, state that on September 14, 2015, I electronically filed the
foregoing Motion with the United States Bankruptcy Court for the District of Massachusetts using
the CM/ECF System. I served the foregoing document on the following CM/ECF participants:

John Fitzgerald, Esquire, Assistant U.S. Trustee
Carolyn Bankowski, Esquire, Chapter 13 Trustee
Peter M. Daigle, Esquire for the Debtor

        I certify that I have mailed by first class mail, postage prepaid, the documents electronically
filed with the Court on the following non CM/ECF participants:


                                                       /s/ Tatyana P. Tabachnik
                                                       Tatyana P. Tabachnik, Esquire
                                                       BBO# 673236

Estate of Aurelis V. Skapars
122 Oakmont Road
Yarmouth Port, MA 02675

Yvonne V. Skapars
122 Oakmont Road
Yarmouth Port, MA 02675

Office of Tax Collector
1146 Route 28
South Yarmouth, MA 02664

Office of the US Attorney
For the District of Massachusetts
John Joseph Moakley Federal Courthouse
1 Courthouse Way, Suite 9200
Boston, MA 02210
